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Magistrate Judge Michelle L. Peterson

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, CASE NO. YY) Sl q - 3 | lo
Plaintiff, COMPLAINT for VIOLATION
v. Title 18, United States Code, Sections
ANDREW PETER SOLOMON, 113(a)(8) and 1153

Defendant.

 

BEFORE the Honorable Michelle L. Peterson, United States Magistrate Judge, at
Seattle, Washington.

The undersigned complainant being duly sworn states:

COUNT 1
(Assault by Strangulation)

On or about March 24, 2019, in Whatcom County, Washington, on the Lummi Indian
Reservation, Indian Country as defined by Title 18, United States Code, Section 1151, and
within the Western District of Washington, ANDREW PETER SOLOMON, an Indian, did
assault Jane Doe, an intimate and dating partner, by strangling Doe, and attempting to
strangle Doe.

All in violation of Title 18, United States Code, Sections 113(a)(8) and 1153.

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COMPLAINT/ANDREW PETER SOLOMON - | UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO 2019R000521 SEATTLE, WASHINGTON 98101-1271
(206) 553-7970
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The complainant states in further support of this Complaint:
COMPLAINANT’S BACKGROUND

1. I, Terry A. Getsch, am a Special Agent (SA) with the Federal Bureau of
Investigation (FBI) and have been so employed since July of 2018. I am assigned to the
Seattle Division of the FBI and currently work from the FBI office in Bellingham,
Washington. I was previously employed from 2014 to 2018 as a police officer and detective
in the state of Georgia, and I have completed the Indian Country Basic Investigator Training
Program through the Bureau of Indian Affairs. In my time as a law enforcement officer, I
have participated in numerous investigations involving but not limited to assaults, rapes,
arsons, thefts, drug crimes and other crimes on Indian Reservations.

2. I am an investigative or law enforcement officer of the United States within the
meaning of Section 2510(7) of Title 18, United States Code, in that I am empowered by law
to conduct investigations and to make arrests for federal felony offenses.

3. The facts set forth herein are based on my own personal knowledge,
knowledge obtained from other individuals during my participation in this investigation,
including other law enforcement officers, interviews of cooperating witnesses, review of
documents and records related to this investigation, communications with others who have
personal knowledge of the events and circumstances described herein, and information
gained through my training and experience. Because this Complaint is submitted for the
limited purpose of determining whether there is probable cause in support of the application
for an arrest warrant, it does not set forth each and every fact that I or others have learned
during the course of this investigation. I have set forth only the facts that I believe are
necessary to establish probable cause to believe that ANDREW PETER SOLOMON has
committed the crime of Assault by Strangulation in violation of Title 18, United States Code,
Sections 113(a)(8) and 1153.

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COMPLAINT/ANDREW PETER SOLOMON - 2 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220

USAO 2019R00052 1 SEATTLE, WASHINGTON 98101-1271
(206) 353-7970
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SUMMARY OF PROBABLE CAUSE

4. On the evening of March 24, 2019, the Lummi Nation Police Department
(LNPD) responded to domestic violence call on the Lummi Indian Reservation at
approximately 8:25 p.m. The officers were directed to a location on the Reservation where
ANDREW PETER SOLOMON (hereafter referred to as SOLOMON) had been blocked in
by family members of the reported victim, who is referred to herein as “Jane Doe” to protect
her privacy. The location in question is near Jane Doe’s residence (hereafter referred to as
“the apartment”).

5. Upon arriving, LNPD officers located SOLOMON and noted that he had a torn
shirt. The shirt was ripped in several spots, and SOLOMON had scratches on his chest, neck
and face, and his right eye was black. One of the responding officers asked SOLOMON
about the marks, and SOLMON would not say anything at first, but he then stated that Jane
Doe swung on him. SOLOMON said that he had ripped his shirt himself and the black eye
was from another prior incident. SOLOMON would not tell the officer about this other
incident, and he refused to allow officers to take pictures of him. He stated that nothing
happened and it was a misunderstanding. SOLOMON said that he and Jane Doe were in a
dating relationship and they had two children together.

6. Jane Doe’s father informed the officer that Jane Doe had called him and told
him that she was throwing up blood and had been assaulted by SOLOMON. At the time
officers arrived, Jane Doe was on her way to the hospital to seek medical attention. After
speaking with LNPD, SOLOMON was allowed to depart the location.

7. After responding to SOLOMON’s location, an officer went to the hospital to
speak with Jane Doe. Jane Doe told the officer that she was currently dating SOLOMON,
that they had been doing laundry, and that SOLOMON had been drinking. Jane Doe said
they had been at the apartment when they got into a verbal argument, and SOLOMON
grabbed her with one hand by the neck. Jane Doe thought SOLOMON used his right hand at
the time. Jane Doe said that SOLOMON dragged her to the ground, and she then punched
SOLOMON in the face. Jane Doe said that SOLOMON released her, and he told her that the

COMPLAINT/ANDREW PETER SOLOMON - 3 , UNITED STATES ATTORNEY

- 700 STEWART STREET, SUITE 5220
USAO 2019R000521 SEATTLE, WASHINGTON 98101-1271
(206) 553-7970
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only reason he stuck around was for their boys. Jane Doe said she felt scared and was trying
to breathe when SOLOMON grabbed her neck. She also said that it felt like SOLOMON
was trying to squeeze harder when he grabbed her, and that she couldn’t speak while he was
squeezing. Jane Doe said all she could do while he was squeezing was try to breathe, as this
was becoming difficult. After this happened, Jane Doe went into her apartment and called
her father. While talking to her father, Jane Doe said she had a hard time breathing and
talking. Jane Doe reported that she then went to puke because she felt like she couldn’t
breathe, and observed that she was puking blood. While talking to the officer, Jane Doe had
pain swallowing her saliva. The officer observed marks on the left side of Jane Doe’s neck,
and observed that she had a swollen left hand. While at the hospital, an officer took
photographs of Jane Doe’s injuries.

8. On April 1, 2019, a LNPD officer located SOLOMON in the parking lot of the
apartment while responding to a new report of a verbal domestic between SOLOMON and
Jane Doe at the apartment. The officer arrested SOLOMON based on an outstanding
Probable Cause Statement and citation (Assault and Battery 2"! Degree) previously issued
for SOLOMON for the assault that had occurred on March 24, 2019. The officer advised
SOLOMON of his Miranda rights, and SOLOMON stated “There’s no proof,” “I didn’t do
anything,” and “I want my lawyer here.”

9. I have reviewed the photographs taken of Jane Doe at the hospital by the
LNPD officer. I observed three red horizontally aligned marks on the right side of Jane
Doe’s neck and one red mark on the left side of her neck. These marks appeared to be the
size of human fingers and, based on my training and experience, indicate that Jane Doe’s
neck had been physically grabbed by an adult size right hand.

10. assisted the LNPD in conducting additional interviews with Jane Doe and
other witnesses who were at the apartment during the assault and/or had contact with Jane
Doe directly following the assault. The following information was provided during these

interviews.

COMPLAINT/ANDREW PETER SOLOMON - 4 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO 2019R000521 SEATTLE, WASHINGTON 98101-1271
(206) 553-7970
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11. During an interview on June 4, 2019, Jane Doe explained that her younger
brother had been inside her apartment on the evening in question when SOLOMON
assaulted her, and SOLOMON gave her brother a ride home after the assault occurred. Jane
Doe also stated that a friend, WH, had been drinking alcohol with SOLOMON before the
assault, and WH had been in a vehicle in front of the apartment when this incident occurred.
Jane Doe said that SOLOMON and WH had purchased two Four Loko alcoholic beverages
each when they were with Jane Doe earlier that day, and they had each consumed at least one
of the beverages prior to the assault.

12. Jane Doe also stated that prior to the assault SOLOMON was exiting the
apartment and she was on the balcony passing him to enter the apartment when SOLOMON
grabbed her by the throat and began strangling her. SOLOMON used his right hand to
squeeze her throat. Jane Doe said she could not breathe, and she was scared. SOLOMON
continued to push Jane Doe as he strangled her, and she began to fall backwards. She was
able to punch SOLOMON in the face with her left hand as they fell to the ground.

SOLOMON landed on top of her, and her head hit the ground. Jane Doe said she “blacked
out” and then remembered seeing SOLOMON over her. She believed she was blacked out
for a few seconds. Jane Doe reported that SOLOMON drove away with her brother and
WH, and she then called her mother and father. Jane Doe said that her cousins came over to
the apartment following the assault and decided to take Jane Doe to the hospital for
immediate treatment.

13. Jane Doe advised she had difficulty eating for at least a week after being
strangled, and her head hurt the next day from when she hit the ground after SOLOMON fell
on top of her. Jane Doe had a follow up medical appointment with the Lummi Health Clinic
and a Lummi Physical Therapist.

14. Jane Doe’s brother was interviewed and advised that on the day in question,
Jane Doe and SOLOMON had been washing clothes at the laundry facility approximately
100 yards away from the apartment. He said that Jane Doe and SOLOMON left, and when
they returned, Jane Doe was crying. SOLOMON came into the apartment with WH and Jane

COMPLAINT/ANDREW PETER SOLOMON - 5 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO 2019R000521 SEATTLE, WASHINGTON 98101-1271
(206) 53-7970
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Doe. According to Jane Doe’s brother, the fight was outside of the apartment, and he did not
hear what was happening. He said that he and WH walked out of the apartment afterwards
and got into a vehicle parked by the stairs. He also said that SOLOMON and Jane Doe
continued to argue on the balcony, but he could not see anything from where he was in the
vehicle.

15. Jane Doe’s father reported that he had received a phone call from Jane Doe
after this incident occurred. Jane Doe told him that she had just been strangled by
SOLOMON, and she was vomiting up blood while they were on the phone. Jane Doe’s
father was near the location where the assault occurred, and he was able to hold SOLOMON
there until the police arrived. Jane Doe’s father said that SOLOMON immediately yelled at
him when he blocked him in, and that both of his nieces were helping out.

16. SOLOMON’: friend, WH, reported that he had been with Jane Doe and
SOLOMON on the day of the assault, and that they had been “bickering” back and forth.
They were doing laundry, and they went and bought Four Loko alcoholic beverages before
returning to the apartment. WH said that Jane Doe found text messages from another girl on
SOLOMON’s phone, and they began arguing. SOLOMON yelled at Jane Doe and told her
that he was not coming back, and Jane Doe was shoving SOLOMON. WH said that he and
Jane Doe’s brother went downstairs and got in their car. While in the car, WH saw Jane Doe
and SOLOMON physically fighting on the balcony above the car in front of the apartment.
WH did not see SOLOMON choking Jane Doe or put his hand on the Jane Doe’s throat.
WH saw them pushing and shoving each other and saw SOLOMON shove Jane Doe, which
resulted in her falling. This statement from WH conflicts with a prior statement he had
provided to LNPD on the night of the assault, in which he had reported hearing yelling by
SOLOMON and Jane Doe when they were at the apartment, but said he did not see anything
happen between SOLOMON and Jane Doe.

17. One of Jane Doe’s cousins reported that Jane Doe’s mother had told her about
the fight between SOLOMON and Jane Doe through Facebook. She said that she then went

to the apartment to take care of Jane Doe’s two children, and when she arrived, Jane Doe

COMPLAINT/ANDREW PETER SOLOMON - 6 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO 2019R000521 SEATTLE, WASHINGTON 98101-1271
(206) 553-7970
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was crying and having trouble breathing. This cousin also reported seeing red marks and
possibly a scratch on Jane Doe’s neck, and said she could see what appeared to be a hand
print on Jane Doe’s throat. Jane Doe’s cousin thought she arrived at the apartment just after
SOLOMON had strangled Jane Doe. She was worried about Jane Doe and urged her to go to
the hospital. The cousin said that she then took Jane Doe’s children to her apartment while
Jane Doe went to the hospital for treatment.

18. Jane Doe’s other cousin reported that she was contacted by her mother to go
see J ane Doe and check on her after this incident had occurred. While checking on Jane Doe
at the apartment, she observed a “‘little blood in the toilet,” and was told by Jane Doe that she
had vomited blood. This cousin saw scratches on Jane Doe’s neck, and said Jane Doe was
crying and having trouble catching her breath. She reported that she drove Jane Doe to the
hospital, and during the drive, Jane Doe stated that she had been teasing SOLOMON and
things got out of hand. This cousin said that she and Jane Doe did not discuss any additional
details.

19. JT have reviewed documents from the Lummi Nation Planning Department that
confirm the apartment where the assault occurred is located on tribally owned trust land
within the exterior boundaries of the Lummi Indian Reservation.

20. Ihave reviewed a copy of SOLOMON’s Lummi Certificate of Indian Blood,
which shows SOLOMON is an enrolled Lummi Nation member with a blood quantum of
3/8. The Lummi Nation is a federally recognized Indian tribe.

21. Ihave reviewed medical records from the Emergency Room where Jane Doe
was treated on March 24, 2019. The medical records indicate that Jane Doe reported being
strangled by the father of her children to her medical providers that evening, and that she had
neck pain following the strangulation. The medical provider who performed the examination
noted two linear red marks on the left side of Jane Doe’s neck.

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COMPLAINT/ANDREW PETER SOLOMON - 7 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO 2019R000521 SEATTLE, WASHINGTON 98101-1271
(206) 353-7970
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CONCLUSION
22. Based on the foregoing, I submit that probable cause exits to believe that
ANDREW PETER SOLOMON has committed the crime of Assault by Strangulation in
violation of Title 18, United States Code, Sections 113(a)(8) and 1153.

ZO

Terry A. Getsch, Complainant
Special Agent, FBI

 

Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence, the Court hereby finds that there is probable cause to believe the Defendant

committed the offense set forth in the Complaint.

DATED this | day of July, 2019.

Michelle L. Peterson
United States Magistrate Judge

COMPLAINT/ANDREW PETER SOLOMON - 8 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO 2019R000521 SEATTLE, WASHINGTON 98101-1271
(206) 553-7970
